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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SA CR 18-00078-DOC-1

 Defendant     KENNETH WAYNE FISHER                                          Social Security No.    8       3     8     0
       Fisher, Kenneth V; Fisher Jr., Kenneth
       Fisher, Kenny; Raymond, Paul
       Raymonds, Paul; Rivers, Paul
       Fisher, Kenneth Wayne II
                                                                             (Last 4 digits)
       Fisher, Kenneth Wayne Jr.
       Fisher, Kenny Wayne; Raymond, Paul
       Michael; Raymonds, Paul Michael
 akas: Rivers, Paul M; Miller, Kenneth

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         06       21    2022

 COUNSEL                                                            Katherine T. Corrigan, CJA
                                                                             (Name of Counsel)

    PLEA              X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                                CONTENDERE             GUILTY
                      There being a finding / verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                      Transportation of a Minor to Engage in Criminal Sexual Activity in violation of 18 U.S.C. §
  FINDING             2423(a) as charged in count 2 of the indictment.
                      Commission of a Felony Offense Involving a Minor While Required to Register as a Sex Offender
                      In violation of 18 U.S.C. § 2260A as charged in count 7 of the indictment.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER               the custody of the Bureau of Prisons to be imprisoned for a term of: 240 MONTHS


It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately.
Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

Pursuant to 18 U.S.C. § 3014(a)(3), the additional special assessment is waived as the Court finds that the defendant has
established that he is unable to pay and is not likely to become able to pay the assessment.

The Court recommends that the Bureau of Prisons conduct a physical and mental health evaluation of the defendant and
provide all necessary treatment. The Court further recommends that the Bureau of Prisons evaluate the defendant for
participation in the Bureau of Prisons’ 500-hour Residential Drug Abuse Program (RDAP).

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Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Kenneth Wayne Fisher,
is hereby committed on Counts 2 and 7 of the Indictment to the custody of the Bureau of Prisons for a term of 240 months.
This term consists of 120 months on Count 2, and 120 months on Count 7, to be served consecutively.

Pursuant to USSG §5G1.3(d), the sentence in this case is to run concurrent to the undischarged terms of imprisonment
imposed in United States District Court for the Western District of Arkansas docket no. 5:15CR50093 and United States
District Court for the District of Kansas docket no. 5:17CR40088.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of Life. This term consists
of Life Count 2 and three (3) years on Count 7, all such terms to run concurrently under the following terms and
conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
            Services Office and Second Amended General Order 20-04.

         2. During the period of community supervision, the defendant shall pay the special assessment in
            accordance with this judgment's orders pertaining to such payment.

         3. The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
            submit to one drug test within 15 days of release from custody and at least two periodic drug tests
            thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         5. The defendant shall participate in an outpatient substance abuse treatment and counseling program
            that includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The
            defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription
            medications during the period of supervision. The Court authorizes the Probation & Pretrial Services
            Office to disclose the Presentence Report to the substance abuse treatment provider to facilitate the
            defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the
            Presentence Report by the treatment provider is prohibited without the consent of the sentencing
            judge.

         6. During the course of supervision, the Probation Officer, with the agreement of the defendant and
            defense counsel, may place the defendant in a residential drug treatment program approved by the
            U.S. Probation and Pretrial Services Office for treatment of narcotic addiction or drug dependency,
            which may include counseling and testing, to determine if the defendant has reverted to the use of
            drugs. The defendant shall reside in the treatment program until discharged by the Program Director
            and Probation Officer.

         7. The defendant shall participate in mental health treatment, which may include evaluation and
            counseling, until discharged from the program by the treatment provider, with the approval of the
            Probation Officer.

         8. As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-
            ordered treatment to the aftercare contractors during the period of community supervision. The

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              defendant shall provide payment and proof of payment as directed by the Probation Officer. If the
              defendant has no ability to pay, no payment shall be required.

         9. The defendant shall not obtain or possess any driver's license, Social Security number, birth
            certificate, passport or any other form of identification in any name, other than the defendant's true
            legal name, nor shall the defendant use, any name other than the defendant's true legal name without
            the prior written approval of the Probation Officer.

         10. The defendant shall register as a sex offender, and keep the registration current, in each jurisdiction
             where he resides, where he is an employee, and where he is a student, to the extent the registration
             procedures have been established in each jurisdiction. When registering for the first time, the
             defendant shall also register in the jurisdiction in which the conviction occurred if different from his
             jurisdiction of residence. The defendant shall provide proof of registration to the Probation Officer
             within 48 hours of registration.

         11. The defendant shall participate in a psychological counseling or psychiatric treatment or a sex
             offender treatment program, as approved and directed by the Probation Officer. The defendant shall
             abide by all rules, requirements, and conditions of such program, including submission to risk
             assessment, and physiological testing, such as polygraph and Abel testing.

         12. As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological
             counseling or psychiatric treatment, or a sex offender treatment program, or any combination thereof
             to the aftercare contractor during the period of community supervision. The defendant shall provide
             payment and proof of payment as directed by the Probation Officer. If the defendant has no ability
             to pay, no payment shall be required.

         13. The defendant shall participate in an evaluation by a trained professional, approved by the Probation
             Office, to assess the defendant's risk to the community as a sex offender. The evaluation may include
             physiological testing, such as polygraph and Abel testing. The Court authorizes the Probation Officer
             to disclose the Presentence Report, and any previous mental health evaluations or reports, to the
             evaluation provider. As directed by the Probation Officer, the defendant shall pay all or part of the
             costs of the sex offender risk evaluation to the aftercare contractor during the period of community
             supervision. The defendant shall provide payment and proof of payment as directed by the Probation
             Officer. If the defendant has no ability to pay, no payment shall be required.

         14. The defendant shall not view or possess any materials, including pictures, photographs, books,
             writings, drawings, videos, or video games depicting and/or describing child pornography, as defined
             at 18 U.S.C. § 2256(8), or sexually explicit conduct, as defined at 18 U.S.C. §2256(2). This condition
             does not prohibit the defendant from possessing materials solely because they are necessary to, and
             used for, a collateral attack, nor does it prohibit him from possessing materials prepared and used for
             the purposes of his Court-mandated sex offender treatment, when the defendant's treatment provider
             or the probation officer has approved of his possession of the materials in advance.

         15. The defendant shall not associate or have verbal, written, telephonic, or electronic communication
             with any person under the age of 18, except: (a) in the presence of the parent or legal guardian of said

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              minor; and (b) on the condition that the defendant notify said parent or legal guardian of his conviction
              in the instant offense. This condition does not encompass persons under the age of 18, such as waiters,
              cashiers, ticket vendors, etc., whom the defendant must interact with in order to obtain ordinary and
              usual commercial services.

         16. The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming
             pools, playgrounds, youth centers, video arcade facilities, or any other places primarily used by
             persons under the age of 18.

         17. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a
             business or organization that causes him to regularly contact persons under the age of 18.

         18. The defendant shall not affiliate with, own, control, or be employed in any capacity by a business
             whose principal product is the production or selling of materials depicting or describing “sexually
             explicit conduct,” as defined at 18 U.S.C. § 2256(2).

         19. The defendant's employment shall be approved by the Probation Officer, and any change in
             employment must be pre-approved by the Probation Officer. The defendant shall submit the name
             and address of the proposed employer to the Probation Officer at least 10 days prior to any scheduled
             change.

         20. The defendant shall not reside within direct view of school yards, parks, public swimming pools,
             playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under
             the age of 18. The defendant’s residence shall be approved by the Probation Officer, and any change
             in residence must be pre-approved by the Probation Officer. The defendant shall submit the address
             of the proposed residence to the Probation Officer at least ten days prior to any scheduled move.

         21. The defendant shall possess and use only those computers and computer-related devices, screen
             usernames, passwords, email accounts, and internet service providers (ISPs) that have been disclosed
             to the Probation Officer upon commencement of supervision. Any changes or additions are to be
             disclosed to the Probation Officer prior to the first use. Computers and computer-related devices
             include personal computers, personal data assistants (PDAs), internet appliances, electronic games,
             cellular telephones, and digital storage media, as well as their peripheral equipment, that can access,
             or can be modified to access, the internet, electronic bulletin boards, and other computers.

         22. All computers, computer-related devices, and their peripheral equipment, used by the defendant shall
             be subject to search and seizure. This shall not apply to items used at the employment's site, which
             are maintained and monitored by the employer.

         23. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The
             defendant shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32
             per month per device connected to the internet.

         24. The defendant shall not contact the victim of the offense by any means, including in person, by mail,
             or electronic means, or via third parties. Further, the defendant shall remain at least 100 yards from

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              the victim at all times. If any contact occurs, the defendant shall immediately leave the area of contact
              and report the contact to the Probation Officer.

         25. The defendant shall submit his person and property – including any residence, premises, vehicle,
             container, papers, effects, and computers, cellular telephones, and other electronic communication or
             digital storage devices or media under his control --- to search and seizure at any time of the day or
             night by any law enforcement officer or probation officer, with or without a warrant, probable cause,
             or reasonable suspicion.

         26. The defendant shall report to the United States Probation & Pretrial Services Office within 72 hours
             of his release from custody.

         27. The defendant shall not possess, have under the defendant's control, or have access to any firearm,
             explosive device, or other dangerous weapon, as defined by federal, state, or local law.

The Court authorizes the Probation & Pretrial Services Office to disclose the Presentence Report to the substance abuse
treatment provider to facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure
of the Presentence Report by the treatment provider is prohibited without the consent of the sentencing judge.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health evaluations
or reports, to the treatment provider. The treatment provider may provide information (excluding the Presentence report),
to State or local social service agencies (such as the State of California, Department of Social Service), for the purpose
of the client's rehabilitation.

The Court recommends that the defendant be housed at Fortworth Medical facility to facilitate visitation with
family, friends, and loved ones.

The Court recommends that the Bureau of Prisons allow the defendant to participate in the Residential Drug
Abuse Program (RDAP) to assist in treating his drug addiction.

On government’s motion, all remaining counts dismissed (Counts 1, 3, 4, 5, 6, and 8).

The Court advised the defendant of his right to appeal.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            June 21, 2022
            Date                                                           Hon. David O. Carter, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                           Clerk, U.S. District Court




            June 21, 2022                                           By     Karlen Dubon
            Filed Date                                                     Deputy Clerk




 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                    to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                    criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable                  defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before              vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                     the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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